Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11. PageID.117 Page 1 of 19

 

 

Exhibit #
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.118 Page 2 of 19

AO 106 (Rev. 06/09) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
Western District of Michigan

In the Matter of the Search of

    

(Briefly describe the property to be searched
or identify the person by name and address) ) Case No. 1:10-MJ-344
1733 OWASIPPE ROAD ) By poe.
TWIN LAKE, MICHIGAN 49457 ) U.S _ District Coli it
) wei. Dist. t 0.
Date

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A

located in the Western District of Michigan , there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
wf evidence of a crime;
om contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
Cl a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

18 USC 2252A(a)(1) Transmission, receipt, and possession of child pornography
18 USC 2252A(a)(2)

18 USC 2252A(a)(5)(B)

The application is based on these facts:

See

oh Continued on the attached sheet.

(J Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

AA
Z / Applicant's signature

Adam J. Van Deuren, Special Agent

- Printed name and title

 

Sworn to before me and signed in my presence.

Date: 07/01/2010 JOSEPH G. SCOVILLE

Judge's signature

 

City and state: Grand Rapids, Michigan Joseph G. Scoville, U.S. Magistrate Judge

Printed-name and title

 

 
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.119 Page 3 of 19

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN

IN THE MATTER OF A SEARCH OF
1733 OWASIPPE ROAD,
TWIN LAKE, MICHIGAN, 49457

AFFIDAVIT

I, Adam J. Van Deuren, being duly sworn, depose and say that:

1, lam a Special Agent (SA) of the Federal Bureau of Investigation (FBI) and have
been so employed since April 2005. I am currently assigned to the Grand Rapids
Resident Agency, Grand Rapids, Michigan. In my employment as an FBI SA, I
have investigated various types of Federal criminal violations, including but not
limited to computer crimes, sexual exploitation of children, and child

pornography matters.

2. This affidavit is being submitted in support of an Application for a Search
Warrant to search for and seize the Internet router and all computers possessed
by Gerber Boy Scout Camp and camp employees and staff members located at
1733 OWASIPPE ROAD, TWIN LAKE, MICHIGAN 49457 for evidence of
violations of Title 18, United States Code, § 2252A(a)(1), concerning the
transmission of child pornography in interstate commerce, and Title 18, United
States Code, § 2252A(a)(2), concerning the receipt or distribution of child
pornography, Title 18, United States Code, § 2252A(a)(5)(B), concerning the
possession of child pornography, and/or Title 18 Section 2252A(a)(3)(B)
concerning promoting and presenting child pornography in interstate and foreign

commerce by means of a computer.

3. The location to be searched is the Gerber Boy Scouts Camp located at 1733
| OWASIPPE ROAD, TWIN LAKE, MICHIGAN, 49457. Gerber Boy Scout
Camp consists of the “Gerber Boy Scout Camp” and the “Cub Scout and

Webelos Adventureland.” It is a multi-acre facility south of Owasippe Road and
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.120 Page 4 of 19

west of Blue Lake Road in Muskegon County. The Camp has multiple
permanent structures, including offices and housing for staff and employees.
Based upon the information summarized here, I have reason to believe that
evidence of violations of the Federal criminal statutes noted in paragraph 2 is

within thea router(s) located at this premises.

Lorpuds ana

4, \P The factual basis set forth in this affidavit in support of the application for the
search warrant is based upon information I discovered in the course of my ~
investigation, information from other FBI Special Agents, FBI computer forensic
examiners, other law enforcement officers or agencies, public records, and
information from Internet Service Providers obtained during this investigation. -
The factual basis also includes information based on my own experience in and
knowledge of computer crimes and child pornography investigations as well as
the experience, knowledge and expertise of other investigators and forensics
examiners. Not all of the information I have acquired in this investigation is

contained within this affidavit.
Child Pornography and Peer-To-Peer Technology

5. Computers and the Internet are regularly used in the production, distribution,
trading, and possession of child pornography. One method used in the
distribution and trade of child pornography on the Internet is peer-to-peer
(hereinafter referred to as P2P) file sharing. P2P file sharing is a method of
communication available to Internet users through the use of special software.
The software is designed to allow users to trade digital files through a worldwide
network that is formed by linking computers together. There are several P2P
networks and software applications currently operating. A user first obtains the
P2P software, which can be downloaded from the Internet. In general, P2P
software allows the user to set up file(s) on a computer to be shared with others
running compatible P2P software. A user obtains files by accessing the P2P
software on the user’s computer, and conducting searches for files that are

currently being shared on another user’s computer.
‘Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.121 Page 5 of 19

6. One of the newest evolutions of P2P software allows users to set up their own
private P2P network of contacts. File sharing through this new and publicly
available P2P file sharing program is limited to only other users who have been
added to your private list of “friends.” A new user is added to your list of friends
through a friend request. Acceptance of friend request will allow that new user
to download file(s) from the user who sent the friend request. The new user can
then browse the list of files the other user has available to download, select the
file(s) from this list, and download the selected file(s). The download of a file
is achieved through a direct, encrypted connection between the computer
requesting the file and the computer containing the file. This new P2P file
sharing program affords those trafficking in child pornography greater control or
discretion regarding the individuals with whom they share and a more secure
mechanism to engage in illegal activity through the use of encrypted transfers.

This new P2P file sharing program must present on a computer to be utilized.

7. Internet Protocol (IP) addresses are expressed as four sets of numbers separated
by decimal points, is unique to a particular computer during an online session.
The IP address resolves to a unique location, making it possible for data to be
transferred between specific computers. Software is available to identify the IP

address of the P2P computer sending the file.

8 Internet Service Providers (ISPs) assign IP addresses to their subscribers for use
while accessing the Internet. These records are retrievable, allowing the
subscriber whose account was used during an Internet session to be identified.

In many cases, these Internet sessions can also be traced to a physical location.

9. The computers that are linked together to form the P2P network are located
throughout the world and operate in interstate and foreign commerce. A person
who includes child pornography files in his/her "shared" folder is hosting child
pornography and is promoting, presenting, and potentially distributing child
_pornography. A person who hosts child pornography is in violation of Title 18
Section 2252A(a)(3)(B) in that he/she is promoting and presenting child

pornography in interstate commerce by means of a computer.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.122 Page 6 of 19

Factual Basis

10. On April 24, 2010, Special Agent (SA) Barry Couch of the Federal Bureau of
Investigation (FBI) office in Rochester, New York, working in an undercover

capacity, used an undercover account to access a private P2P network. SA Couch

queried his network of "friends" who had previously invited SA Couch's
undercover persona to trade files within a private network. SA Couch identified

a "friend" within the private network using the username "Joshiex," who was

also logged into the network during SA Couch's undercover session.

11. SA Couch established a peer-to-peer connection with "Joshiex" and browsed the
directories being made available for sharing by "Joshiex." SA Couch accessed
the shared directories and observed many video and image files with file names
indicative of child pornography. SA Couch then selected and downloaded
multiple video files that depict child pornography. .

12. After downloading the files, SA Couch determined that they contained child
pornography. A selection of the downloaded files are identified by name and -

described below. Copies of the images identified below are provided in Exhibit

A,

a. anal.mpg
This video file depicts an adult male
performing anal sex on a young prepubescent
male child.

b. FyouMultiply - 7 YO Boy.wmv

This video file depicts an adult male
performing anal sex on a young prepubescent
male child.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.123 Page 7 of 19

c. Hedone's Site - hotondad2.mpeg

This video file depicts an adult male
performing anal sex on a young prepubescent
male child.

d. Logan0.wmv

This image depicts an adult male performing
oral sex on a young prepubescent male child.

e. P101 - Brotherlove 1.divx

This video file depicts multiple nude
prepubescent male children lewdly and
lasciviously displaying their genitalia for the
camera.

13. During the download, SA Couch identified the IP address utilized by "Joshiex",
which was 67.208.238.110. SA Couch identified and served a subpoena on the
Internet Service Provider (ISP), AriaLink. AriaLink is a small local ISP
operating in West Michigan. A representative AriaLink contacted SA Couch on
May 13, 2010 and advised that AriaLink did not maintain any IP information.

14, On June 17, 2010, SA Couch, working in an undercover capacity in Rochester,
NY, used an undercover account to access a private P2P network. SA Couch

again established an undercover session with user "Joshiex".

15. SA Couch used the browse function to review the files being made available for
sharing by "Joshiex." SA Couch accessed the shared directories and observed
approximately 436 video and image files with file names indicative of child
pornography that were available to be shared. SA Couch then selected and
downloaded approximately 12 video files that appeared to depict child

pornography.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.124 Page 8 of 19

16.

17.

After downloading the files, it was determined that 12 video files appeared to be
child pornography. One additional inconclusive video was also downloaded. A
selection of the downloaded files are identified by name and described below.
Copies of the images identified below are provided in Exhibit B.

a. 02.avi

An adult male engaging in anal sex with a
prepubescent male.

b. 2BoyzMaknLove02[]1 ][2].mpeg
Two prepubescent males engaging in oral sex.

Cc, 13 yo boy jerks off and cums in bedroom
3'59. mpg

A prepubescent male masturbating.

d. Hedone's Site - hotondad2.mpeg
An adult male engaging in anal sex with a
prepubescent male.

e. little boy sucks and gets cum in his
mouth.mpg

Two prepubescent males engaging in oral sex.

During the download, SA Couch identified the IP address utilized by "Joshiex",
which was 67.208.225.149. SA Couch again served a subpoena to AriaLink
which advised that it had begun maintaining IP address log information. SA
Couch obtained IP records from AriaLink on approximately June 17, 2010 as to
the user assigned IP Address 67.208.225.149 on June 17, 2010, at the time of the
downloads from "Joshiex." These records indicated that the user assigned the
IP address was on the account of Scott Herrick, 1733 OWASIPPE ROAD,
TWIN LAKE, MICHIGAN, 49457. Additionally, AriaLink provided the
subscriber's telephone number as 231-894-4928 ext. 000 and the subscriber's

email address as gerberscoutcamp@gmail.com.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.125 Page 9 of 19

18. At the time of the aforementioned downloads from"Joshiex," SA Couch was
physically located in the State of New York.

19, On June 30, 2010, J obtained information that Scott Herrick is the Camp Director
for the Gerber Boy Scout Camp in Twin Lake, Michigan. Additionally, I was
advised that the Gerber Boy Scout camp was not yet open to campers on April

24, 2010 and would have only been occupied by camp staff members.

20. I conducted a public records search of the telephone number 231-894-4928 and
discovered that the number is subscribed to The Boy Scouts of America, 1733
OWASIPPE ROAD, TWIN LAKE, MICHIGAN, 49457.

21. On June 29, 2010, I was contacted by SA Thomas Thompson from the FBI office
| in New York, NY. SA Thompson advised that he had conducted an online
undercover session with "Joshiex" on June 25, 2010 at approximately 10:49 AM

and viewed multiple images and videos of child pornography that were available

by "Joshiex" for download. SA Thompson advised that the IP address used by

"Joshiex" belongs to AriaLink and served a subpoena to them, however he has

not yet received a subpoena return with subscriber information.

22. SA Thompson further advised that within the shared folder were images of
teenaged boys in Boy Scout uniforms. One of the images depicted a child ina
Boy Scout uniform with his genitals exposed. SA Thompson is experienced in
investigating child pornography cases and described the image as “child
pornography.”

23. AriaLink advised that the Internet account service remained active as of June 30,
2010, and is subscribed to by the same customer as at the time of the transfer of
child pornography to an FBI undercover agent. AriaLink further advised that the
camp uses a router for Internet service, which permits multiple computers to

access the Internet.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.126 Page 10 of 19

Considerations Relating to this Investigation

24. In a wireless or wired computer network, a router is used to control and maintain
Internet access for multiple computers. Each computer has a unique identifying
number, called a MAC address, and the router will identify and log the MAC
address(es) of the computers accessing the Internet. It may be possible to identify
the individual computer that contains the specialized P2P software and the child
pornography collection by comparing the Internet log activity from the router
with the date and time of the undercover connections. MAC addresses for laptop
computers are printed on the exterior of the computer. Reviewing the MAC

addresses will require seizing the computers.

25, It is also possible to identify the computer that contains the specialized P2P
software and child pornography collection by turning on the computer and

browsing the software program files. If present, the P2P program will be listed.

26. Once the computer that contains the specialized P2P software is identified it will

be subject to a complete examination by a computer forensic examiner.

27, Digital evidence of different types can be recovered from the hard drives of
computers depending on a variety of factors, among which is the skill and ability
of the user to clean or hide such evidence on the computer. Saved files,
temporary files, and even deleted files of all types can be recovered from a
computer by a trained forensic examiner. In certain circumstances, password

protected and encrypted files may be recoverable by a trained forensic examiner.

28. The computer may provide information about the source of child pornography
images on the Internet, other individuals involved in the collection, trafficking
and trade of child pornography, the identification of child victims and, possibly,
of related crimes including the enticement of minors for sexual purposes or the
production of child pornography. Therefore, this warrant seeks permission to
seize the computer and to search it for evidence in the form of child pornography
images or videos, stored e-mails associated with the receipt and distribution of
such images, and any chat or other text files relating to contact with collectors of -

child pornography or with actual children. In conducting the search, the forensic
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.127 Page 11 of 19

examiner and agents will examine files regardless of their name because such
names and file extensions can be altered to conceal their actual content. Because
of the volume of data to be searched and the need to complete the examination
in a reasonable time, the forensic examiner will also use computer techniques

such as keyword searches which may result in the display of irrelevant materials.

29. Individuals interested in child pornography will often produce or attempt to
produce child pornography by taking their own pictures and videos.

30. The Government requests permission to secure the computer to have it examined
‘in a controlled environment utilizing specialized software and hardware. This

insures the safety of evidence and the property itself from unintended destruction -
or damage and minimizes the possibility of evidence being intentionally

destroyed.

31. Because of the nature and complexity inherent in computer searches, the time
period required for a complete, safe, and secure forensic examination of the
computer hard drive and storage media is uncertain. Upon determining the extent
of material seized requiring forensic examination and any special forensic
examination requirements, the Government will provide the Court an estimate of
the time required to complete the forensic examinations along with the search

watrant return.

32, It is further noted that retention of any computers would be warranted, should any
child pornography be found thereon, in order to permit forfeiture of those
computers and related properties as instrumentalities of the crime, pursuant to
Title 18, United States Code, § 2253(a)(3), or Title 18, United States Code, §

2254(a)(2).
Conclusion
33. The evidence obtained and developed in this investigation has shown the

existence of specialized P2P software and a collection of child pornography on
a computer connected to the AriaLink Internet service physically located at the
Gerber Boy Scout Camp, 1733 OWASIPPE ROAD, TWIN. LAKE,
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.128 Page 12 of 19

MICHIGAN, 49457. The investigation also identified that this collection of
child pornography was being offered for downloading to others using a private
P2P network and that the private network included others outside the State of
Michigan via the Internet. The investigation also shows evidence of an interstate
electronic transfer of multiple images of child pornography to two undercover
FBI agents, the images being received from a computer connected to the Internet
service physically located at the residence at 1733 OWASIPPE ROAD, TWIN
LAKE, MICHIGAN, 49457.

34, Based upon the fact that the first session occurred before any campers were
present, it is probable that the person using the computer is an employee or staff
member. ] am seeking permission to seize all computers (including desktop and
laptop computers) possessed by Gerber Boy Scout Camp and all employees and
staff members of the Boy Scout Camp and within the premises at the time of the
execution of this warrant. I will seek the assistance of the staffmembers to locate
and secure all the staff members’ computers to avoid conducting a physical
search of the entire camp. One or more computer forensic examiner will be on
scene and will attempt to identify the computer through the router. If
unsuccessful, we will conduct a limited examination of the computers only to
determine which computer contains the specialized P2P software. Once that
computer is located, I am seeking permission to then conduct a full computer
forensic examination of the contents of that computer, including but not limited
to an inventory of the images, evidence of the production, distribution and
possession of child pornography. I am also seeking permission to seize and
search any camera that is possessed by the owner of the computer that contains
the specialized P2P software.

35, Based on information outlined above, as well as my knowledge and experience
relating to child pornography investigations, and the knowledge and experience
of others in child pornography investigations and forensic examinations, I have
probable cause to believe that evidence will be found at 1733 OWASIPPE
ROAD, TWIN LAKE, MICHIGAN, 49457, including the following:

a. The router that provides the connection to the
ISP and the Internet service. Within that
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.129 Page 13 of 19

router will be information identifying all
computers that were utilizing that connection.
b. The computer that contains the specialized

peer-to-peer software and the child

pornography collection.
c. A digital camera or other digital imaging
device.
36. WHEREFORE, based on the facts set forth above, your Affiant submits there is

probable cause to believe that evidence of the receipt, possession, or transmission
of child pornography, in violation of 18 U.S.C. 2252A, exists on or within
computers or other digital storage media located at 1733 OWASIPPE ROAD,
TWIN LAKE, MICHIGAN, 49457,

37. Your Affiant respectfully requests that the Court issue a warrant to search for and
seize the items listed in Attachment B and located at Gerber Boy Scout Camp at
1733 OWASIPPE ROAD, TWIN LAKE, MICHIGAN, 49457.

Lf
ADAM J. VAN DEUREN —
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me

this /f-__ day of July, 2010.

JOSEPH G. SCOVILLE

HON. JOSEPH G. SCOVILLE
United States Magistrate Judge
Western District of Michigan

 
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.130 Page 14 0f19 |

ATTACHMENT A

Gerber Boy Scouts Camp is located at 1733 OWASIPPE ROAD, TWIN LAKE,
MICHIGAN, 49457. Gerber Boy Scout Camp consists of the “Gerber Boy Scout Camp”
and the “Cub Scout and Webelos Adventureland.” It is a multi-acre facility south of
Owasippe Road and west of Blue Lake Road in Muskegon County. The Camp has multiple

permanent structures, including offices and housing for staff and employees.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.131 Page 15 of 19

ATTACHMENT B
Items to be seized and searched:
1. The router that provides the connection to the ISP and Internet service.
2. | All computers (including desktop and laptop computers) possessed by the Gerber

Boy Scout Camp and all employees and staff members of the Boy Scout Camp
and within the premises at the time of the execution of this warrant. Staff
members will be asked to assist in locating and securing all the staff members’
computers to avoid conducting a physical search of the entire camp. One or more
computer forensic examiner will be on scene and will attempt to identify the
particular computer that contains the specialized peer-to-peer software and the
child pornography collection by the MAC address. Ifunsuccessful, the computer
forensic examiner will conduct a limited examination of the computers only to
determine which computer contains the specialized peer-to-peer software. Once
that’ computer is located, the computer forensic examiner will conduct a full
computer forensic examination of the contents of that computer, including but
not limited to an inventory of the images, evidence of the production, distribution

and possession of child pornography.

3. Digital camera(s) or other digital imaging device(s)-possessed by the owner of the

computer that contains the specialized peer-to-peer software.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.132 Page 16 of 19

AO 93 (Rev. 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT
for the
Western District of Michigan

    
 

In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. 1:10-MJ-344 —
1733 OWASIPPE ROAD
TWIN LAKE, MICHIGAN 49457
) By !
y epury Clerk
.S, District Cou
SEARCH AND SEIZURE WARRANT Westgyppist. 9 Mishipan
Date

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Western District of Michigan
(identify the person or describe the property to be searched and give its location):

See Attachment A

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment B

| find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

 

property.
YOU ARE COMMANDED to execute this warrant on or before JUL 13 2010
(not to exceed 14 days)
O inthe daytime 6:00 a.m. to 10 p.m. C) at any time in the day or night as I find reasonable cause has been

established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

Joseph G. Scoville .
(name)

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) Olfor days (not to exceed 30).

Cluntil, the facts justifying, the later specific date of

JUL = 1 2010 JOSEPH G. SCOVILLE

Date and time issued:

 

 

Judge's signature

City and state: Grand Rapids, Michigan Joseph G. Scoville, U.S. Magistrate Judge

Printed name and title
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.133 Page 17 of 19

AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
1:10-MJ-344

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.

Date:

 

Executing officer's signature

 

Printed name and title

 

 
 

Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.134 Page 18 of 19

ATTACHMENT A

Gerber Boy Scouts Camp is located at 1733 OWASIPPE ROAD, TWIN LAKE,
MICHIGAN, 49457. Gerber Boy Scout Camp consists of the “Gerber Boy Scout Camp”.
and the “Cub Scout and Webelos Adventureland.” It is a multi-acre facility south of
Owasippe Road and west of Blue Lake Road in Muskegon County. The Camp has multiple

 

permanent structures, including offices and housing for staff and employees.
Case 1:10-cr-00207-PLM ECF No. 39-1 filed 03/02/11 PagelD.135 Page 19 of 19

ATTACHMENT B
Items to be seized and searched:
1, The router that provides the connection to the ISP and Intemet service.
2. All computers (including desktop and laptop computers) possessed by the Gerber

Boy Scout Camp and all employees and staff members of the Boy Scout Camp
and within the premises at the time of the execution of this warrant. Staff
members will be asked to assist in locating and securing all the staff members’
computers to avoid conducting a physical search of the entire camp. One or more
computer forensic examiner will be on scene and will attempt to identify the
particular computer that contains the specialized peer-to-peer software and the
child pornography collection by the MAC address. If unsuccessful, the computer
forensic examiner will conduct a limited examination of the computers only to
determine which computer contains the specialized peer-to-peer software. Once
that computer is located, the computer forensic examiner will conduct a full
computer forensic examination of the contents of that computer, including but
not limited to an inventory of the images, evidence of the production, distribution

and possession of child pornography.

3, Digital camera(s) or other digital imaging device(s) possessed by the owner of the

computer that contains the specialized peer-to-peer software.
